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                               UNITED STATES DISTRICT COURT
                                                        Southern District of Florida
                                                            Fort Lauderdale Division


UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
           v.
 TAYYAB TAHIR ISMAIL (01)                                               Case Number: 113C 0:18CR60352
                                                                        USM Number: 19477-104

                                                                        Counsel For Defendant: David Anthony Nunez
                                                                        Counsel For The United States: Karen E. Gilbert
                                                                        Court Reporter: Glenda Powers
The defendant pleaded guilty to Count Two of a Five-Count Indictment.
The defendant is adjudicated guilty of these offenses:
                                                                                                       OFFENSE
TITLE & SECTION                          NATURE OF OFFENSE                                                                COUNT
                                                                                                       ENDED
                                         Distribution of information pertaining to explosives,
18 U.S.C. § 842(p)(2)(A)                                                                               07/16/2018         2
                                         destructive devices, and weapons of mass destruction


The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.
All remaining counts are dismissed on the motion of the government.
It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.




                                                                       Date of Imposition of Sentence: 7/18/2019



                                                                       _____________________
                                                                       ____________________________________________
                                                                       K. MICHAEL MOORE
                                                                       United States Chief District Judge


                                                                              
                                                                       Date: ______________________________________
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DEFENDANT: TAYYAB TAHIR ISMAIL (01)
CASE NUMBER: 113C 0:18CR60352
                                IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 240 Months as to Count Two.
The court makes the following recommendations to the Bureau of Prisons: Designation to a Bureau of
Prisons CARE3-Medical/CA RE3-Mental Health facility so that Defendant's mental condition can be
appropriately treated and monitored.
The defendant is remanded to the custody of the United States Marshal.

                                                            RETURN
I have executed this judgment as follows:




Defendant delivered on ________________________________________ to ________________________________________

at ________________________________________, with a certified copy of this judgment.




                                                              ___________________________________________
                                                              UNITED STATES MARSHAL


                                                              ___________________________________________
                                                              DEPUTY UNITED STATES MARSHAL
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DEFENDANT: TAYYAB TAHIR ISMAIL (01)
CASE NUMBER: 113C 0:18CR60352
                              SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of Three (3) Years.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, as determined by the court.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
     1.    The defendant shall not leave the judicial district without the permission of the court or probation officer;
     2.    The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first fifteen
           days of each month;
     3.    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4.    The defendant shall support his or her dependents and meet other family responsibilities;
     5.    The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
           other acceptable reasons;
     6.    The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7.    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8.    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9.    The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
           convicted of a felony, unless granted permission to do so by the probation officer;
     10.   The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
           of any contraband observed in plain view of the probation officer;
     11.   The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
           officer;
     12.   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
           the permission of the court; and
     13.   As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
           criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
           confirm the defendant’s compliance with such notification requirement.
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DEFENDANT: TAYYAB TAHIR ISMAIL (01)
CASE NUMBER: 113C 0:18CR60352
                                SPECIAL CONDITIONS OF SUPERVISION
Association Restriction - The defendant is prohibited from associating with [specify persons or groups] or visiting
[specify locations] while on probation/supervised release.

Data Encryption Restriction - The defendant shall not possess or use any data encryption technique or program.

Mental Health Treatment - The defendant shall participate in an approved inpatient/outpatient mental health
treatment program. The defendant will contribute to the costs of services rendered (co-payment) based on ability
to pay or availability of third party payment.

Offense Related Computer Restriction - The defendant shall refrain from accessing via computer any “material”
that relates to the activity in which the defendant was engaged in committing the Instant Offense, namely ______.

Permissible Computer Examination - The defendant shall submit to the U.S. Probation Officer conducting
periodic unannounced examinations of the defendant’s computer(s) equipment which may include retrieval and
copying of all data from the computer(s) and any internal or external peripherals to ensure compliance with this
condition and/or removal of such equipment for the purpose of conducting a more thorough inspection; and to
have installed on the defendant’s computer(s), at the defendant’s expense, any hardware or software systems to
monitor the defendant’s computer use.

Permissible Search - The defendant shall submit to a search of his/her person or property conducted in a
reasonable manner and at a reasonable time by the U.S. Probation Officer.

Unpaid Restitution, Fines, or Special Assessments - If the defendant has any unpaid amount of restitution, fines,
or special assessments, the defendant shall notify the probation officer of any material change in the defendant’s
economic circumstances that might affect the defendant’s ability to pay.
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DEFENDANT: TAYYAB TAHIR ISMAIL (01)
CASE NUMBER: 113C 0:18CR60352
                          CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                    Assessment    Fine                     Restitution
             TOTALS                                  $100.00      $0.00                      $0.00
**Assessment due immediately unless otherwise ordered by the Court.
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DEFENDANT: TAYYAB TAHIR ISMAIL (01)
CASE NUMBER: 113C 0:18CR60352
                              SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as
follows:
A. Lump sum payment of $100.00 due immediately.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.
This assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:
U.S. CLERK'S OFFICE
ATTN: FINANCIAL SECTION
400 NORTH MIAMI AVENUE, ROOM 08N09
MIAMI, FLORIDA 33128-7716
The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and
the U.S. Attorney's Office are responsible for the enforcement of this order.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest,
(4) fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of
prosecution and court costs.
